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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

          v.                                              Case No. 06-cr-40029 -JPG

 SHARICE C. VANN,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Sharice C. Vann’s Motion for Leave to

Proceed In Forma Pauperis (Doc. 302). For the following reasons, the Court DENIES Vann’s

Motion.

                                        BACKGROUND

       This Court entered Judgment against Sharice Vann (Vann) in the above styled criminal

case on April 17, 2007. Forty days later, on June 22, 2007 Vann filed a Notice of Appeal. The

United States Court of Appeals for the Seventh Circuit dismissed her appeal as untimely August

20, 2007. Vann has indicated that she will file a motion under 28 U.S.C. § 2255 alleging

ineffective assistance of counsel. Vann filed the instant motion as part of her criminal case.

                                           ANALYSIS

       A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3); Fed.

R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d

1025, 1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not

frivolous is whether any of the legal points are reasonably arguable on their merits. Neitzke v.

Williams, 490 U.S. 319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker
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v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

       The Court is satisfied from Vann’s affidavit that she is indigent. However, the Court

cannot grant Vann’s motion at this time. First, the Court notes that there is no fee to file a §

2255 motion, so Vann has no need of pauper status for that purpose. Second, the Court will not

authorize pauper status for free transcripts unless the defendant can demonstrate that her suit is

not frivolous and that the transcript is needed to decide an issue presented by the suit. See 28

U.S.C. § 753(f). Since Vann has not yet filed a § 2255 motion, the Court cannot determine

whether she can satisfy this standard. Third, should Vann seek pauper status in connection with

a § 2255 motion, she must file her motion for leave to proceed in forma pauperis in that case, not

in her criminal case. For these reasons, the Court DENIES the motion for leave to proceed in

forma pauperis (Doc. 302) without prejudice to refiling another properly supported motion in a

§ 2255 proceeding


IT IS SO ORDERED.
DATED: September 26, 2007

                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE




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